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May 7, 2021

Julia C. Dudley, Clerk
United States District for the
Western District of Virginia
210 Franklin Road, S.W.
Suite 540

Roanoke, VA 24011

RE: United States, et al. v. Southern Coal Corporation, et al.
Civil Action No. 7:16-cv-00462-GEC
U.S. District Court for the Western District of Virginia

Dear Ms. Dudley:

In our previously filed Dkt. 42, Exhibit 1, attachment 8, we have discovered that two of
the three pages of the letter, dated September 20, 2020, were omitted. I have enclosed the
complete letter and I would ask that it replace the single page previously filed. I will note that
the full letter was previously filed in Dkt. 28, Exhibit 1.

Thank you for your attention to this matter. Should you have any questions, please do

not hesitate to contact me.
Very truly yours,

/ Medes a

Michael W. Carey

MWC/nes

Enclosure

ee Honorable Michael F. Urbanski
Patrick M. Casey, Esq.
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